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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

SAMUEL CUELLAR,

                       Petitioner,                    Case No. 1:20-cv-919

v.                                                    Honorable Paul L. Maloney

WILLIS CHAPMAN,

                       Respondent.
____________________ _______/

                                     ORDER OF TRANSFER

               This is a habeas corpus action filed by a state prisoner under 28 U.S.C. § 2254.

Venue in habeas corpus actions is governed by 28 U.S.C. § 2241. That statute allows a petition to

be filed either in the district where the petitioner is in custody or in the district in which the

petitioner was convicted. 28 U.S.C. § 2241(d). Petitioner Samuel Cuellar is incarcerated with the

Michigan Department of Corrections at the Macomb Correctional Facility (MRF) in New Haven,

Macomb County, Michigan. Petitioner was convicted in Saginaw County. Both Macomb and

Saginaw counties are located in the Eastern District of Michigan. 28 U.S.C. § 102(a). Venue,

therefore, lies in that district, not in the Western District of Michigan. Accordingly,

               IT IS ORDERED that this case is hereby transferred to the United States District

Court for the Eastern District of Michigan pursuant to 28 U.S.C. § 1406(a).



Dated:   September 25, 2020                           /s/ Ray Kent
                                                       Ray Kent
                                                       United States Magistrate Judge
